            Case 2:17-cv-00534-MJP Document 77 Filed 04/19/18 Page 1 of 4




 1                                             HONORABLE MARSHA J. PECHMAN
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 6
                         UNITED STATES DISTRICT COURT
 7                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 8

 9   HTC CORPORATION and HTC               Case No. 2:17-cv-00534-MJP
     AMERICA, INC.
10                                         ORDER REGARDING JOINT STATUS
                      Plaintiffs,          REPORT AND CASE SCHEDULE
11
           v.
12
     TELEFONAKTIEBOLAGET LM
13   ERICSSON and ERICSSON INC.,
14

15                           Defendants.
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     [PROPOSED] ORDER REGARDING JOINT                           Perkins Coie LLP
                                                           1201 Third Avenue, Suite 4900
     STATUS REPORT– 1
                                                             Seattle, WA 98101-3099
     (No. 2:17-cv-00534-MJP)                                   Phone: 206.359.8000
                                                                Fax: 206.359.9000
              Case 2:17-cv-00534-MJP Document 77 Filed 04/19/18 Page 2 of 4



 1
            THE COURT, having considered the Joint Status Report on Case Schedule submitted by
 2
     the parties, and being fully advised in the premises, now, therefore, ORDERS that the case
 3
     schedule be amended to have the following revised deadlines:
 4

 5
                 DATE                                EVENT / TASK
 6
                               Deadline for Ericsson to make good faith production of TCL
 7                             v. Ericsson materials, to provide HTC with a list of third-
                               parties from TCL v. Ericsson from whom consent has been
 8                             sought for production in this case, and to provide HTC with a
                4/30/2018      list of the third-parties who have not provided consent for
 9                             production by this date
10                             As to the good faith production, this will include TCL v.
                               Ericsson materials for which no objection from a third-party
11                             has been received to production in this case

12                             Deadline for Ericsson to substantially complete production of
                5/29/2018      materials from TCL v. Ericsson
13
              4 weeks after
14            Ericsson files   Deadline for Ericsson to serve FRAND contentions
                 Answer
15
              3 weeks after
16           Ericsson serves Deadline for HTC to serve responsive FRAND contentions
                FRAND
17             contentions

18           No later than 6
              weeks after
19            substantial      Deadline for HTC to Submit Motions for Early Resolution of
             production of     Estoppel Effects Arising from TCL v. Ericsson.
20           materials from
                TCL v.
21             Ericsson

22            60 days after
                               Deadline for parties to file and serve motions to amend
              Ericsson files
23                             pleadings or join additional parties
                 Answer
24                             Deadline for parties to submit materials, including expert
                6/4/2018       submissions the parties may rely upon at tutorial
25
               6/14/2018 at
26                             Tutorial
                 9:00 AM


     CERTIFICATE OF SERVICE
                                                                             Perkins Coie LLP
     (No. 2:17-cv-00534-MJP) – 1                                        1201 Third Avenue, Suite 4900
                                                                          Seattle, WA 98101-3099
                                                                            Phone: 206.359.8000
                                                                             Fax: 206.359.9000
            Case 2:17-cv-00534-MJP Document 77 Filed 04/19/18 Page 3 of 4



 1

 2            DATE                              EVENT / TASK

 3                        Deadline for parties to engage in some form of alternative
             9/28/2018    dispute resolution
 4
                          All discovery motions which concern discovery that is not
 5                        Expert Opinion Discovery* must be noted for consideration
                          by the Court on or before this date
 6

 7                        *Expert Opinion Discovery consists of the disclosures under
             11/1/2018    Fed. R. Civ. P. 26(a)(2)(B), (C) (i.e., Expert Reports);
 8                        discovery concerning contentions that consist of or contain
                          expert opinion; fact discovery into facts, data, or bases for a
 9                        disclosed expert opinion, which facts, data, or bases clearly
                          need not have been revealed until service of an Expert Report;
10                        and depositions of witnesses offering expert opinion.

11           11/1/2018    Close of discovery, except for Expert Opinion Discovery
12                        Deadline for Opening Expert Reports on issues for which a
                          party bears the burden of proof.
13           12/1/2018    For issues with which there is uncertainty with respect to the
14                        burden of proof, the parties will meet and confer at least one
                          month before this deadline.
15
             12/20/2018   Deadline for Response Expert Reports
16
                          All discovery motions which concern Expert Opinion
17           1/23/2019    Discovery must be noted for consideration by the Court on or
                          before this date
18
             2/22/2019    Close of opinion discovery
19
             3/22/2019    Deadline for Filing Daubert Motions
20
             3/25/2019    Deadline for Filing Dispositive Motions
21
                          Deadline for service of Plaintiffs’ Pretrial Statement Pursuant
22           4/19/2019    to LCR 16(h)
23                        Deadline for service of Defendants’ Pretrial Statement
              5/1/2019    Pursuant to LCR 16(i)
24
                          Deadline for the Conference of the Attorneys Pursuant to
25           5/10/2019    LCR 16(k)
26           5/17/2019    Deadline for service of Rule 26(a)(3) Disclosures

     [PROPOSED] ORDER REGARDING JOINT
                                                                         Perkins Coie LLP
     STATUS REPORT ON CASE SCHEDULE – 2
                                                                    1201 Third Avenue, Suite 4900
     (No. 2:17-cv-00534-MJP)                                          Seattle, WA 98101-3099
                                                                        Phone: 206.359.8000
                                                                         Fax: 206.359.9000
              Case 2:17-cv-00534-MJP Document 77 Filed 04/19/18 Page 4 of 4



 1

 2               DATE                                EVENT / TASK

 3                            All motions in limine or related motions must be noted for
               6/17/2019      consideration by the Court on or before this date, including
 4                            any objections pursuant to Rule 26(a)(3)(B)

 5                            Proposed pretrial order, trial briefs, voir dire questions, and
               7/10/2019      jury instructions
 6
              7/12/2019 at
 7                            Final Pretrial Conference
                1:30 PM
 8            7/22/2019 at
                              Trial – Courtroom 14206 before Judge Marsha J. Pechman
                9:00 AM
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     DATED this 19th day of April, 2018.
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13                                                        A
14                                                        Marsha J. Pechman
                                                          United States District Judge
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     [PROPOSED] ORDER REGARDING JOINT
                                                                              Perkins Coie LLP
     STATUS REPORT ON CASE SCHEDULE – 3
                                                                         1201 Third Avenue, Suite 4900
     (No. 2:17-cv-00534-MJP)                                               Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
                                                                              Fax: 206.359.9000
